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Exhibit
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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

AMA MULTIMEDIA, LLC

a Nevada limited liability company, Case No. 2:15-cv-01673-JCM-(GWF)
Plaintiff,

Vv.

BORJAN SOLUTIONS, S.L. d/b/a
SERVIPORNO, a Spanish company; and
BORJAN MERA URRESTARAZU,
an individual,

Defendants.

[PROPOSED] ORDER ON MOTION TO COMPEL ARBITRATION

This cause came before the Court upon Plaintiff AMA Multimedia, LLC’s Motion to
Compel Arbitration and this Court, having reviewed the Motion as well as the Defendants’
Response to Plaintiff's Motion to Compel Arbitration, and being otherwise fully advised in the
premises, hereby

FINDS, ORDERS, AND ADJUDGES:

1. That Plaintiff's Motion to Compel Arbitration is ALLOWED, subject to the
provisions of this Order;

2. That Causes 1 through 8 of the Amended Complaint are hereby dismissed as the
claims raised by the Plaintiffs’ Amended Complaint are subject to an enforceable arbitration
agreement;

3. That if Plaintiff AMA Multimedia, LLC (“AMA”) chooses to proceed with its
dispute against the Defendants, that it initiate arbitration with JAMS or the American Arbitration

Association, with the arbitrator to be selected by the chosen organization pursuant to its rules for

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the selection of arbitrators where the parties have not mutually agreed upon a specific arbitrator;
and
4. AMA shall provide the arbitration panel selected with a copy of this Order and
inform the selected arbitrator that this Court has not ruled on, or expressed any position
concerning, the question of whether AMA has satisfied the conditions precedent necessary to file
for arbitration, leaving the resolution of that question in the first instance to the arbitrator.
DONE AND ORDERED in Chambers at Las Vegas, Nevada this _ day of

, 2016.

James C. Mahan
UNITED STATES DISTRICT JUDGE

